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                                                         ORIGlt~AL
                                                         SE"CCt.JP
     United States District Court                  AMENDED
     Eastern District of New York                  COMPLAINT
     ----------------------------                  JURY TRIAL
     Zev Yourman,                                  DEMANDED
           ' •.        Plaintiff                   CV14 1551
         -against                                  CBA, MDG
     Alan Maisel, Alan Maisel as former Assemblyman,

                                                                                     ~
     Frank Seddio,Kings County Democratic Committee,
     ~inlc- S.e'!'.l4:i-o _Cht:!-iJ;man Kings . -.            -\0)
                                                            ill:©ll:O\YllE
     County Democratic Committee,
     Thomas J'ef"f'erson Democratic Club,
                                                                \JU
                                                                JUN o3 2014          \!JI
                         Defendants
                                                                PRO SE OFFICE
     -------------------------------------------x
     I.  Parties1
     Plaintiff r Zev Yourman, addressed at Zev Yourman c/o Joseph Persky
     880 Bergen Avenue, Jersey, New Jersey 07306. Plaintiff is
     prosecuting this action PRO SE.

     Defendant: Alan.Maisal, addressed at 2424 Ralph Avenue, Brooklyn, NY
     11234

     Defendant1 Frank Seddio, addressed at 9306 Flatlands Avenue
     Brooklyn, NY 11236

     Defendant, Kings County Democratic Committee, addressed at 16
     Court Street Suite 1207, Brooklyn, NY 11241
     Defendants Thomas Jefferson Democratic Club, addressed at 77
     Conklin Avenue, Brooklyn, NY 11236
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IJ,         The    jurisdiction· of the Court is invoked pursuant to
       28 u.s.c.§1331, 28 u.s.c.§ 1343~, 42 u.s.c.§1983. 28 u.s.c.§
       1367, :first and fourteenth amendments to the Constitution

111.        Statement of Claim1
1.)on Sunday March 10, 2013 on the sidewalk on the corner of
      East 17th Street and Quentin Road in Brooklyn New York this
      plaintiff attended a public gathering. The initiating event
      in this complaint occured .at this public street gathering.

            2.)   The defendant Alan Maisel who was an assemblyman
   at that time also attended the above stated public gathering.
   Maisel announced to the .crowd             that he was attending as a
   representative of Frank Seddio, and of the Kings County
   nemocratic Committee, both defendants in this case.

            3.)   This plaintiff delivered a speech at the above
   mentioned gathering as protected under the first and :fourteenth
   amendments to the Constitution.

            4.)   While this plaintiff was speaking,Maisel invoked his
   position as assemblyman and made complaint to five members of the
   NYPD concerning this plaintiff and falsely stated that this
   plaintiff       i.s "very abus.i ve", is "very, very disturbed" is
   "disturbed" .

            5.) The word "disturbed" in police jargon refers to an
   emotionally disturbed person,           the context reflects that.

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Emotionally Disturbed Person EDP is a detainable category.

        6.)    The words stated by Maisel to the NYPD were stated
under color of law.       The words against this plaintiff were false,
defamatory        and   designed to interefere with and did interefere
with this plaintiff's constitutional rights to freedom of speech
and due process, and resulted in detention of this plaintiff by
NYPD.

        7,)    At same event as mentioned in #1.), Maisel spoke the
words as stated in #4.) to a crowd of over two hundred persons,
and to multiple broadcasting networks fore,ign and domestic,
concerning this plaintiff,

        8. )   The words as stated above were- false, defamatory and
slanderous. Maisel spoke these words with the motive of starting
a violent riot against .this .plaintiff in order to subject this
plaintiff to extra judicial punishment, in order to deny this
plaintiff constitution guaranteed rights to freedom of speech and
due process.

        9,)    At same event as described in #1.) defendant Maisel
engaged in and encouraged and incited others to engage in
unwanted touching, groping, grabbing, poking, feeling, hitting,
slapping, kicking, .punching, o:f' this plaintiff, in order to subject
this plaintiff to extra judicial punishment, in order to deny
this plaintiff constitution guaranteed rights to freedom of speech
and due process.
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       10.)   Defendant lllaisel,stated, within a short time after
 the event described in #1. ). upon knowledge and belief within
 fourty eight hours to one week after the event, concerning
 this plaintiff the false, defamatory, words as stated.in #4. to
 Frank Seddio the chairman of the Kings County Democratic '
 Committee. Maisel also added the1 words "crazy man", "he hates
 Russian people"., "he• s not rational",          and other fal.se · · ''
 defamatory words concerning this plaintiff and known to the
 defendants in his statements to Seddio.

       11.)   Defendant Maisel then continued to state the false
 defamatory words concerning this plaintiff to John Does
 one through fifty and Jane Does one through fifty and witnesses
 known to him.

       12.) On or about     Ju~y   29, 2013 while sitting in his
 constituelilts set'vices· o'ffice '. ~cated· at •2424. 'Ra;!ph Av:enue,
Brooklyn, New York, and while working in his capacity as
 assemblyman, defendant MaiseL stated the words stated in #10.)
which· were false, defamatory and concerning this plaintiff,
 to constJ_tuent(s)and to his office staff,          Thus falling under the
purview of acting under color of law.

      13.) The words "he hates Russian people" pose. a clear.. and
present danger to the life and safety of this plaintiff
as he resides in a Russian neighborhood.


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      14.)   Upon knowledge and belief, Frank Seddio stated the same             ,e

 defamatory false words referring to this plaintiff as originally
 stated by defendant Maisel in #4.) and #10.) to John Does one through
 fifty and Jane Does one through fifty and witnesses known to him.
      15.) Defendant Seddio bears liability for Defendant Maisel's
 actions against this plaintiff on March 10, 2013 as Maisel publicly
 represented Seddio and his interests at the event (see #2.).
      16.) Defendant Kings County Democratic Committee bears liability
 for Maisel's action against this plaintiff on March 10, 2013 as Maisel
publicly represented the Committee and its• interests at the event
 (see #2).).Also many_ of the actions committed by Maisel and Seddio
against this plaintiff.were committed under the purview of the
Xings County Democratic Committee. Seddio is Chairman of Committee.
      16 a.) Thomas Jefferson Democratic Club bears liability as· many
of the actions committed against plaintiff by Maisel an<l Seddio were
originated , planned oncipremise.s -and- under purvif!!W• of C·lub.
Thomas Jefferson Democratic Club serves as de facto Kings County
Democratic Committee Headquarters. Seddio is de facto head of Club
and holds "court" there weekly. 16 a. is upon knowledge and belief.
      17.) In New York the above stated actions against this plaintiff
would fall under the purview of the following causes of action1
Defamation per se, assault, battery, emotional distress, respondents
superior, vicarious liability and it is requested that this be taken
under consideration under Supplemental Jurisdiction 28 U.s .c. § 1367.
      18.) By the acts described above, defendant(s) have
violated and continue to violate the rights of plaintiff protected
by the First and Fourteenth Amendments to the United States
Constitution and 42u.s.c.§1983.




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      1q.)     Upon knowle~e and belief' defendants in· continuation of'
the actions as commenced against this plaintiff' on March 10, 2013
and in continuing campaign to harm this plaintiff did interfere with
    a Kings county supreme court case           held on April 3, 2013
in: front of   Hon~   ·Yvonne Lewis causing judge to dismiss this -plaintiff'' s
complaint :t'i1ed. ill .2007 a1ia'.rig with approximately fifteen
accompanying motions.       Judge Lewis gave no reason f'or this drastic
action.

      20.)   At the community board 18 meeting of' June 2013           this
plaintiff' was belly slammed,·, pushed· to the     ground~and   denied    ~ntrance

by a middle aged African American male who claimed he was the
"enforcer" for the T.J. club and that I was "persona non grata"
                              J..
in this town. Upon knowlege and belief his name was ll!m~ Bulis
Upon knowl/ge and belief this was a continuation of actions
as commenced against this plaintiff on March 10, 2013.

      21.3   At the community board 15 meeting of June 2013
held at Kings Borough community col·lege a young woman with a
Russian accent upon knowlege and belief in the employ of
Councilman Lou Fiddler or Alan Maisel, blocked the door to the                       ~   ·. ·
meeting with her body in a cross figure preventing this plaintiff
from entering while yelling at this plaintiff "you hate Russians
you're not going in there". P.l'llin'il!f'f Ina.it neMer met this woman' :.   · ,.
previous.    Upon kn<Ji~e.t and :P-elief. .t~'i~was a· con:t,inuance of
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defendantt;!l' actions against this plaintiff.

        22.) Approximate1y one week prior to the court hearing on
April     3, 2013, a female believed to be an assistant to Judge Lewis
informed this Plaintiff that he' couldn't expect t.o-· be .welcome in this
                                                            J.
courthouse after the stunt you pulled' Upon knowlege and belief
this incident was a result of defendantWcampaign against this
plaintiff.

        23.)   During the hearing of April 3, 2013 that case defendant who
is closely affiliated to the defendants· in the instant case
and was closely affiliated with former chairman of Kings County
Democratic Committee Vito Lopez, warned         Judge Lewis that she better
tow the party line with reference to this plaintiff, by reminding
the Judge about the incident of March 10, 2013 which had absolutely
no relevance to that case. Upon knowle~e and belief this
incident was a result of     defendan~·   campaign against this
plaintiff.

     24.)      It is important to note that Judges in Kings         County are
totally beholden to the Democratic party machine for their careers.

     25.)      On various occasions since March 10, 2013, this Plaintiff
has been threatened, physically accosted and verbally abused
in the Brighton Beach, Sheepshead Bay     ar•a.,w~t"e·   .he resides. in a
manner which point to an organized effort:.     e~igiAa:ting     from a central



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source and directly related to the incident of March 10, 2013.
Upon knowl/ge and belief these incidents were as a result of
defendantt'SI' campaign against this plaintiff,

     26.)     Paragraphs 15., 16., 17., and 18. also apply to
paragraphs 19. through 25.

     27.)     Plaintiff has suffered and will continue to suffer
pain, suffering, consternation, and emotional distress over the
deprivation of constitutionally protected rights, and of the
continued threat to plaintiffs life and safety as a result of
defendant(s) acts against plaintiff as described above.

     28.)     Defendant(s)'actions have caused and will continue to
cause the plaintiff great, immediate and irreparable harm.

     IV.      Remedy 1    and
              Pra.yer1
Plaintiff requests Judgement against defendant(s)1
     A. Damages in the sum of not less than six million dollars.
     B.    Puniti~e   damages in the sum of not less than six million
dollars.
    c.     For costs and fees.
     n.    All other relief that is just and right.




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       Zev Yourman, deposes and saysr       I am the Plaintiff in the above
 entitled action, and do hereby allege upon knowledge as to all
 matters within my personal knowledge and upon information and
 belief as to all other matters in the above complaint.


                                        Zev Yourman - Plaintiff Pro Se




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